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8
                                UNITED STATES DISTRICT COURT
9
                             SOUTHERN DISTRICT OF CALIFORNIA
10
      UNITED STATES OF AMERICA       ) No. 20-CR-1566-DMS-MSB
11                                   )
                                     ) JOINT MOTION FOR AN ORDER
12     v.                            ) RELEASING LIEN
                                     )
13                                   )
      CHARLES RONALD GREEN, JR. (1), )
14    MELINDA ELIZABETH GREEN (2), )
                                     )
15          Defendants.              )
                                     )
16                                   )
            The United States of America, by its counsel, and defendants Charles Ronald Green,
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      Jr. and Melinda Elizabeth Green, through their counsel, jointly move this Court for an order
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      releasing the lien on real property in Florida.
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            On June 10, 2020, an indictment was returned charging Defendants with conspiracy
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      and wire fraud. Dkt. No. 1. On July 23, 2020, the Court set bond at $3,000,000 as to both
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      Defendants, secured by real property (with the same property eligible to be used for both)
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      and setting other standard conditions of release. Dkt. Nos. 8, 9. Pursuant to the parties’
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      joint motions, the Court modified the pretrial release conditions on August 4, 2020 and
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      August 17, 2020, which included, as relevant here, modification of the bond to $500,000
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      for each defendant, secured by real property in Florida. Defendants each posted bond,
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      secured by the real property in Florida. See e.g., Dkt. No. 29.
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            On September 10, 2021, parties jointly moved to modify pretrial release conditions
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      from real property bonds to a $250,000 signature bond for each Defendant, secured by a
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1 financial responsible surety, and agreed that any lien on the Florida real property be
2 released to facilitate further proceedings regarding that property. Dkt. No. 69. The Court
3 granted the motion. Dkt. No. 70.
4             Defendants are now, in cooperation with the United States, working to sell the
5 Florida property. To facilitate that transaction, the parties jointly move for an Order
6 expressly releasing the lien previously entered against that real property, while the
7 modified pretrial release conditions ordered at Dkt. No. 70 remain in place.
8 SO MOVED.
9 DATED: May 8, 2023                                   Respectfully submitted,
10                                                     RANDY S. GROSSMAN
11                                                     United States Attorney
12                                                     s/Valerie H. Chu
13                                                     VALERIE H. CHU
                                                       Assistant U.S. Attorney
14
15                                                     s/David Wiechert (w/ authorization)
                                                       DAVID WIECHERT
16                                                     Counsel for Charles Ronald Green
17
                                                       s/Derelle Janey (w/ authorization)
18                                                     DERELLE JANEY
19                                                     Counsel for Melinda Elizabeth Green
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      Parties’ Joint Motion for Order Releasing Lien        2                                20-CR-1566-DMS
